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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JULIE MCKEEVER, on behalf of                 )
herself and all others similarly situated,   )
                                             )
                      Plaintiff,             )
                                             )
           v.                                )        Case No. 17-cv-05555
                                             )        Honorable Amy J. St. Eve
                                             )
MAM ENTERPRISES, LLC, d/b/a                  )
ALWAYS BEST CARE                             )
                                             )
                      Defendant.             )


                       NOTICE OF DISMISSAL WITH PREJUDICE

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure
41(a)(1)(A)(i), Plaintiff, Julie McKeever, hereby dismisses her claims in the above-captioned
action with prejudice. Each party will bear their own fees and costs.



Dated: October 12, 2017                      Respectfully submitted,

                                                 /s/Maureen A. Salas
                                                 Douglas M. Werman (#6204740)
                                                 Maureen A. Salas (#6289000)
                                                 Sarah J. Arendt (#6308501)
                                                 Steven P. Schneck (#6198967)
                                                 Werman Salas P.C.
                                                 77 West Washington St., Ste 1402
                                                 dwerman@flsalaw.com
                                                 msalas@flsalaw.com
                                                 sarendt@flsalaw.com
                                                 sschneck@flsalaw.com
                                                 COUNSEL FOR PLAINTIFF
                                                 JULIE MCKEEVER
